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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
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   NATHAN ROWAN, individually and on behalf
   of a class of all persons and entities similarly
   situated,

                  Plaintiff
                                                          Case No. 1:21-cv-21431-DPG
   vs.

   THE FRANCHISE CONSULTING
   COMPANY, INC.,

                  Defendant.



                              PLAINTIFF’S NOTICE OF DISMISSAL
         Plaintiff Nathan Rowan gives notice of the dismissal of this action with prejudice as to

  Plaintiff’s individual claims and without prejudice as to any other member of the putative class’s

  right to bring claims, with each party to bear its own attorneys’ fees and costs.

                                                Respectfully Submitted,

  Dated: September 3, 2021                       /s/ Avi R. Kaufman
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                                                Counsel for Plaintiff and the putative class




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